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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
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				Go to Today march, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				20mar10:00 am- 1:00 pmOral Arguments
							Event Details
							
							
									Event Details
									Monday, March 20, 2017
10:00 AM
S17A0629 City of Atlanta v. Mays et al.
S17A0646 Laguerre v. The State
S17A0643 Faubert-Rocha v. Bautista

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										Time(Monday) 10:00 am - 1:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

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